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                                                                                                    CLOSED
                                    U.S. District Court
                         Southern District of Indiana (Indianapolis)
                   CIVIL DOCKET FOR CASE #: 1:21−cv−02262−SEB−DLP

MORRIS et al v. AMAZON.COM SERVICES, LLC                      Date Filed: 08/17/2021
Assigned to: Judge Sarah Evans Barker                         Date Terminated: 01/07/2022
Referred to: Magistrate Judge Doris L. Pryor                  Jury Demand: Plaintiff
Cause: 15:1693ef Electronic Funds Transfer Act                Nature of Suit: 480 Consumer Credit
                                                              Jurisdiction: Federal Question

Discovery Deadline:                                           Settlement Conference:
Dispositive Motion Deadline:                                  Final Pretrial Conference:
                                                              Trial Date:
Plaintiff
WHITNEY MORRIS                                   represented by David M. Marco
                                                                SMITHMARCO, P.C.
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Plaintiff
BRADLY MORRIS                                    represented by David M. Marco
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                              Larry Paul Smith
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED


V.
Defendant
AMAZON.COM SERVICES, LLC.                        represented by John A. Goldmark
                                                                DAVIS WRIGHT TREMAINE LLP
                                                                920 Fifth Avenue
                     Case 2:22-cv-00058 Document 38 Filed 01/07/22 Page 2 of 5
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                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

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                                                                ATTORNEY TO BE NOTICED

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Date Filed   #    Docket Text

08/17/2021   Ï1   COMPLAINT with Jury Demand against AMAZON.COM SERVICES, LLC., filed by WHITNEY
                  MORRIS, BRADLY MORRIS. (Filing fee $402, receipt number 0756−6705065) (Attachments: # 1
                  Civil Cover Sheet, # 2 Proposed Summons)(Marco, David) (Entered: 08/17/2021)

08/17/2021   Ï2   NOTICE of Appearance by David M. Marco on behalf of Plaintiffs BRADLY MORRIS,
                  WHITNEY MORRIS. (Marco, David) (Entered: 08/17/2021)

08/17/2021   Ï3   NOTICE of Appearance by Larry Paul Smith on behalf of Plaintiffs BRADLY MORRIS,
                  WHITNEY MORRIS. (Smith, Larry) (Entered: 08/17/2021)

08/18/2021   Ï4   Summons Issued as to AMAZON.COM SERVICES, LLC. (REO) (Entered: 08/18/2021)

08/18/2021   Ï5
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                    MAGISTRATE JUDGE's NOTICE of Availability to Exercise Jurisdiction issued. (REO) (Entered:
                    08/18/2021)

09/01/2021    Ï6    NOTICE of Appearance by Philip R. Zimmerly on behalf of Defendant AMAZON.COM
                    SERVICES, LLC.. (Zimmerly, Philip) (Entered: 09/01/2021)

09/01/2021    Ï7    Corporate Disclosure Statement by AMAZON.COM SERVICES, LLC. identifying Corporate
                    Parent AMAZON.COM, INC. for AMAZON.COM SERVICES, LLC... (Zimmerly, Philip)
                    (Entered: 09/01/2021)

09/01/2021    Ï8    NOTICE of Parties' First Extension of Time re Filing a response to pleading defined by Fed. R. Civ.
                    P. 7(a), filed by Defendant AMAZON.COM SERVICES, LLC.. (Zimmerly, Philip) (Entered:
                    09/01/2021)

09/08/2021    Ï9    SCHEDULING ORDER: Initial Pretrial Conference set for 11/17/2021 11:00 AM (Eastern Time)
                    in Telephonic before Magistrate Judge Doris L. Pryor. The information needed to participate in this
                    telephonic conference will be provided by a separate notification. No fewer than seven (7) days
                    before the IPTC, counsel must file a Proposed CMP. See Order for additional information. Signed
                    by Magistrate Judge Doris L. Pryor on 9/8/2021.(SWM) (Entered: 09/08/2021)

09/10/2021   Ï 10   MOTION for Attorney(s) Robert E. Miller to Appear pro hac vice (Filing fee $100, receipt number
                    0756−6740385), filed by Defendant AMAZON.COM SERVICES, LLC.. (Attachments: # 1 Exhibit
                    A − Robert Miller Certification, # 2 Text of Proposed Order)(Zimmerly, Philip) (Entered:
                    09/10/2021)

09/10/2021   Ï 11   MOTION for Attorney(s) John A. Goldmark to Appear pro hac vice (Filing fee $100, receipt
                    number 0756−6740403), filed by Defendant AMAZON.COM SERVICES, LLC.. (Attachments: # 1
                    Exhibit A − John Goldmark Certification, # 2 Text of Proposed Order)(Zimmerly, Philip) (Entered:
                    09/10/2021)

09/10/2021   Ï 12   MOTION for Attorney(s) Samuel R. Alvarez to Appear pro hac vice (Filing fee $100, receipt
                    number 0756−6740431), filed by Defendant AMAZON.COM SERVICES, LLC.. (Attachments: # 1
                    Exhibit A − Samuel Alvarez Certification, # 2 Text of Proposed Order)(Zimmerly, Philip) (Entered:
                    09/10/2021)

09/15/2021   Ï 13   Submission of Signature Requirement re 12 MOTION for Attorney(s) Samuel R. Alvarez to Appear
                    pro hac vice (Filing fee $100, receipt number 0756−6740431) by AMAZON.COM SERVICES,
                    LLC.. (Zimmerly, Philip) (Entered: 09/15/2021)

09/15/2021   Ï 14   Submission of Signature Requirement re 11 MOTION for Attorney(s) John A. Goldmark to Appear
                    pro hac vice (Filing fee $100, receipt number 0756−6740403) by AMAZON.COM SERVICES,
                    LLC.. (Zimmerly, Philip) (Entered: 09/15/2021)

09/15/2021   Ï 15   Submission of Signature Requirement re 10 MOTION for Attorney(s) Robert E. Miller to Appear
                    pro hac vice (Filing fee $100, receipt number 0756−6740385) by AMAZON.COM SERVICES,
                    LLC.. (Zimmerly, Philip) (Entered: 09/15/2021)

09/16/2021   Ï 16   ORDER granting 10 Motion to Appear pro hac vice. Attorney Robert E. Miller for
                    AMAZON.COM SERVICES, LLC. added. Signed by Magistrate Judge Doris L. Pryor on
                    9/16/2021 Copy sent to Mr. Miller via US Mail (CBU) (Entered: 09/17/2021)

09/16/2021   Ï 17   ORDER granting 11 Motion to Appear pro hac vice. Attorney John A. Goldmark for
                    AMAZON.COM SERVICES, LLC. added. Signed by Magistrate Judge Doris L. Pryor on
                    9/16/2021 Copy sent to Mr. Goldmark via US Mail (CBU) (Entered: 09/17/2021)

09/16/2021   Ï 18   ORDER granting 12 Motion to Appear pro hac vice. Attorney Samuel R. Alvarez for
                    AMAZON.COM SERVICES, LLC. added. Signed by Magistrate Judge Doris L. Pryor on
                    9/16/2021 Copy sent to Attorney Alvarez via US Mail (CBU) (Entered: 09/17/2021)
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09/22/2021   Ï 19   NOTICE of Change of Attorney Information. Consistent with Local Rule 5−3, John Goldmark
                    hereby notifies the Clerk of the court of changed contact information. (Goldmark, John) (Entered:
                    09/22/2021)

10/07/2021   Ï 20   MOTION for Extension of Time to October 15, 2021 to Respond to Plaintiff's Complaint, filed by
                    Defendant AMAZON.COM SERVICES, LLC.. (Attachments: # 1 Text of Proposed Order)(Miller,
                    Robert) (Entered: 10/07/2021)

10/08/2021   Ï 21   ORDER granting Defendant's 20 Motion for Extension of Time to File response to complaint to
                    10/15/2021. Signed by Magistrate Judge Doris L. Pryor on 10/8/2021. (SWM) (Entered:
                    10/12/2021)

10/15/2021   Ï 22   MOTION to Dismiss for Improper Venue or to Transfer Venue, filed by Defendant
                    AMAZON.COM SERVICES, LLC.. (Miller, Robert) (Entered: 10/15/2021)

10/15/2021   Ï 23   BRIEF/MEMORANDUM in Support re 22 MOTION to Dismiss for Improper Venue or to Transfer
                    Venue , filed by Defendant AMAZON.COM SERVICES, LLC.. (Miller, Robert) (Entered:
                    10/15/2021)

10/15/2021   Ï 24   DECLARATION of Sarah Hebard re 22 Motion to Dismiss, 23 Brief/Memorandum in Support by
                    AMAZON.COM SERVICES, LLC.. (Attachments: # 1 Exhibit Amazon's Conditions of
                    Use)(Miller, Robert) (Entered: 10/15/2021)

10/22/2021   Ï 25   Unopposed MOTION for Extension of Time to November 19, 2021 to Respond to Defendant's
                    Motion to Dismiss for Improper Venue or to Transfer Venue, filed by Plaintiffs BRADLY
                    MORRIS, WHITNEY MORRIS. (Attachments: # 1 Text of Proposed Order)(Marco, David)
                    (Entered: 10/22/2021)

10/25/2021   Ï 26   ORDER granting Plaintiff's 25 Motion for Extension of Time to File Response to Motion to
                    Dismiss to 11/19/2021. Signed by Magistrate Judge Doris L. Pryor on 10/25/2021. (SWM)
                    (Entered: 10/26/2021)

11/09/2021   Ï 27   Joint MOTION to CONTINUE Initial Pretrial Scheduling Conference and Related Deadlines , filed
                    by Defendant AMAZON.COM SERVICES, LLC.. (Attachments: # 1 Text of Proposed
                    Order)(Zimmerly, Philip) Modified on 11/10/2021 (CKM). Modified on 11/10/2021 (CKM).
                    (Entered: 11/09/2021)

11/10/2021   Ï 29   CASE MANAGEMENT PLAN TENDERED, filed by Defendant AMAZON.COM SERVICES,
                    LLC. and Plaintiffs. (Miller, Robert) (Entered: 11/10/2021)

11/12/2021   Ï 30   ORDER granting Parties' 27 Joint Motion for Continuance − Initial Pretrial Conference RESET for
                    1/19/2022 02:30 PM (Eastern Time) in Telephonic before Magistrate Judge Doris L. Pryor. Counsel
                    shall attend the conference by calling the designated phone number, to be provided by the Court via
                    email generated by the Court's ECF system. All other requirements of the Court's order dated
                    September 8, 2021, Dkt. [ 9 ] shall remain in effect. Signed by Magistrate Judge Doris L. Pryor on
                    11/12/2021.(SWM) (Entered: 11/12/2021)

11/18/2021   Ï 31   Unopposed MOTION for an Extension of Time to file Response to Defendant's Motion to Dismiss
                    for Improper Venue or to Transfer Venue, filed by Plaintiffs BRADLY MORRIS, WHITNEY
                    MORRIS. (Attachments: # 1 Text of Proposed Order)(Marco, David) Modified on 11/19/2021
                    (CKM). (Entered: 11/18/2021)

11/22/2021   Ï 32   ORDER granting in part 31 Motion for Extension of Time to 12/20/2021 for the Plaintiff to respond
                    to Defendant's motion to dismiss. Signed by Magistrate Judge Doris L. Pryor on 11/22/2021. (CBU)
                    (Entered: 11/22/2021)

12/20/2021   Ï 33   NOTICE of No Opposition, filed by Plaintiffs BRADLY MORRIS, WHITNEY MORRIS, re 22
                    MOTION to Dismiss for Improper Venue or to Transfer Venue. (Marco, David) (Entered:
                        Case 2:22-cv-00058 Document 38 Filed 01/07/22 Page 5 of 5
                     12/20/2021)

 12/28/2021   Ï 34   REPLY in Support of Motion re 22 MOTION to Dismiss for Improper Venue or to Transfer Venue
                     , filed by Defendant AMAZON.COM SERVICES, LLC.. (Zimmerly, Philip) (Entered: 12/28/2021)

 12/29/2021   Ï 35   Submission of Proposed Order , re 22 MOTION to Dismiss for Improper Venue or to Transfer
                     Venue, filed by Defendant AMAZON.COM SERVICES, LLC.. (Zimmerly, Philip) (Entered:
                     12/29/2021)

 01/07/2022   Ï 36   CLOSED TRANSFER − Defendant Amazon.com Services, LLC, having filed a Motion to Dismiss
                     for Improper Venue or, in the alternative, to Transfer Venue Dkt. 22 , and the Court having
                     reviewed said Motion and being apprised by Plaintiffs that they do not oppose Defendants' transfer
                     request, finds that the Motion to Transfer should be GRANTED and the alternative Motion to
                     Dismiss should be DENIED AS MOOT. IT IS THEREFORE ORDERED AND ADJUDGED AND
                     DECREED that this cause shall be transferred to the Western District of Washington. Signed by
                     Judge Sarah Evans Barker on 1/7/2022.(CKM) (Entered: 01/07/2022)

 01/07/2022   Ï 37   Transfer Letter to Clerk of the Western District of Washington. Case transferred electronically to
                     Western District of Washington, on 1/7/2022. (CKM) (Entered: 01/07/2022)

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